             Case 1:23-cv-13196 Document 1 Filed 12/26/23 Page 1 of 7




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                                    )
DEMAND DOGS, LLC,                                   )      Civil Action No.
                                                    )
                                                    )
                     Plaintiff                      )
      v.                                            )       COMPLAINT AND DEMAND
                                                    )          FOR TRIAL BY JURY
JOHN BLAIR,                                         )
                                                    )
                     Defendant                      )
                                                    )
                                                    )


       Plaintiff, Demand Dogs, LLC (“Plaintiff”), through their undersigned attorneys, by way of

Complaint against Defendant, John Blair (“Defendant”), alleges as follows:

                                         THE PARTIES

       1.      Plaintiff, Demand Dogs, LLC (“Demand Dogs”), is a corporation organized and

existing under the laws of the State of Delaware with its principal place of business at 1 Short

Street, Suite 1, Northampton, MA.

       2.      Defendant, John Blair (“Blair”), an individual, is a resident of the State of

Kentucky, residing at 3855 Lochdale Ter., Apt. 1109, Lexington, Kentucky 40514.

                                 JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction over the matters asserted herein under 28

U.S.C. §§ 1331 and 1338(a) because this action involves a claim arising under the Federal

Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, relating to the patent laws of the United

States, 35 U.S.C. § 1, et seq. This Court has subject matter jurisdiction over the remaining claims

asserted herein under 28 U.S.C. § 1367 because they form part of the same case or controversy.

                                              -1-
              Case 1:23-cv-13196 Document 1 Filed 12/26/23 Page 2 of 7



       4.      This Court has personal jurisdiction over Blair because he consented to

jurisdiction in “federal court located in the Commonwealth of Massachusetts” pursuant to Section

9 of his Employment Agreement dated December 3, 2020 (“Blair Employment Agreement”). A

true and accurate copy of the Blair Employment Agreement is attached hereto as Exhibit 1.

       5.      Venue is proper in this judicial district under 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to Plaintiffs’ claims occurred in this district.

                                   FACTUAL BACKGROUND

       6.      On or about December 3, 2020, Blair entered into the Blair Employment

Agreement.

       7.      At Section 7.1 of the Blair Employment Agreement, it states as follows:

              Work Made for Hire; Assignment. The Employee acknowledges that, by reason of
              being employed by the Company at the relevant times, to the extent permitted by law,
              all of the Work Product consisting of copyrightable subject matter is “work made for
              hire” as defined in 17 U.S.C. § 101 and such copyrights are therefore owned by the
              Company. To the extent that the foregoing does not apply, the Employee hereby
              irrevocably assigns to the Company, for no additional consideration, the Employee’s
              entire right, title and interest in and to all Work Product and Intellectual Property
              Rights therein, including the right to sue, counterclaim and recover for all past, present
              and future infringement, misappropriation or dilution thereof, and all rights
              corresponding thereto throughout the world. Nothing contained in this Agreement
              shall be construed to reduce or limit the Company’s rights, title or interest in any Work
              Product or Intellectual Property Rights so as to be less in any respect than that the
              Company would have had in the absence of this Agreement.

       8.      Blair worked at Demand Dogs as an employee from December 3, 2020 until

September 5, 2023 (“Blair’s Employment Period”). Consequently, Demand Dogs owns all Work

Product and Intellectual Property Rights as defined in the Blair Employment Contract.

       9.      During Blair’s Employment Period, Blair assisted Demand Dogs with exploring the

idea of technology focused on measuring the content of whiskey barrels. Blair did not have any

prior knowledge regarding the methodology to measure the content of whiskey barrels. Blair had

some rudimentary ideas about measuring the content of whiskey barrels through measuring

                                                -2-
                Case 1:23-cv-13196 Document 1 Filed 12/26/23 Page 3 of 7



pressure temperature and volume by using a reconfigured measuring device for ambient

temperature, a strain gauge, and then he had added humidity. Blair used a volume equation that is

readily available on the internet. None of Blair’s rudimentary ideas, even though they are property

of Demand Dogs, are not being used.

       10.       Demand Dogs was pursuing the idea of millimeter wave (MM) or radio frequency

(“RF”) as a method of measuring the content of whiskey barrels (“Demand Dogs Idea”). Demand

Dogs was also working with a manufacturer, Plextek Services Limited (“Plextek”), to design and

manufacture a device that would allow for the implementation of the Demand Dogs Idea. Demand

Dogs’ owners had a long term relationship with Plextek. Blair had no relationship whatsoever

with Plextek.

       11.       Blair had absolutely no prior knowledge of how to measure the content of whiskey

barrels with MM or RF. Blair never attempted himself to explore the idea of measuring the content

of whiskey barrels with MM or RF. Blair’s attempts to explore the ideal of using MM or RF to

measure the content of whiskey barrels went nowhere. Plextek eventually refused to discuss the

Demand Dogs Idea at all with Blair because Blair was refusing to work with the actual engineering

experts at Plextek and his input was counterproductive. Thus, Blair’s involvement was not only

substantively useless, it also interfered with any actual progress being made with Plextek on

designing and implementing the Demand Dogs Idea.

       12.       Demand Dogs decided not to bring Blair to any meetings with Plextek, investors or

others regarding the Demand Dogs Idea because of Blair’s poor interactions with Plextek which

jeopardized the project. Blair failed to accomplish the most menial tasks associated with the

Demand Dogs Idea, such as battery research, and when he tried to accomplish any tasks associated

with the Demand Dogs Idea, he was late and the work product was useless.

       13.       Demand Dogs, through its owner Brian Anderson, hired patent counsel to obtain

                                               -3-
               Case 1:23-cv-13196 Document 1 Filed 12/26/23 Page 4 of 7



intellectual property protection for the Demand Dogs Idea.

         14.    On February 27, 2023, Brian Anderson, an owner of Demand Dogs, through

counsel, filed a Utility-Provisional Application, Application No. 63/487,014 (“Demand Dogs

Patent Application”). The title of the invention is “See Your Barrel Live.”

         15.    Demand Dogs’ owners, Keith Smith and Brian Anderson, have met with numerous

professionals and potential investors throughout the United States in pursuit of the Demand Dogs

Idea and the Demand Dogs Application. Blair has only participated in, perhaps, one of those

meetings. Keith Smith and Brian Anderson have spent countless hours and funds pursuing the

Demand Dogs Idea and Demand Dogs Application without any meaningful contribution from

Blair.

         16.    The Demand Dogs Idea and Demand Dogs Patent Application and all other ideas,

work product and rights related to the Demand Dogs Idea and Demand Dogs Patent Application

are Work Product and Intellectual Property Rights under the Blair Employment Agreement and,

therefore, owned by Demand Dogs. Blair has absolutely no ownership rights in the Demand Dogs

Idea, Demand Dogs Patent Application or any other ideas or work product related to the Demand

Dogs Idea and Demand Dogs Patent Application or any patents subsequently issued regarding the

Demand Dogs Idea or Demand Dogs Patent Application.

         17.    On September 5, 2023, Blair was terminated from Demand Dogs.

         18.    On September 25, 2023, Keith Smith and Brian Anderson incorporated Barrel Proof

Technologies LLC (“Barrel Proof”) in the State of Tennessee. Keith Smith and Brian Anderson

are members of Barrel Proof.

         19.    Brian Anderson called Blair to talk about his role and limited contributions. Blair

refused to talk to Brian Anderson. Blair then informed Brian Anderson that he “will be retaining

a lawyer to handle the situation moving forward.”

                                               -4-
             Case 1:23-cv-13196 Document 1 Filed 12/26/23 Page 5 of 7



       20.     Blair then approached Demand Dogs’ patent attorney Dr. Kelly Hollowell

on Thursday November 30th without Demand Dogs’ knowledge. Demand Dogs only found out

when Demand Dogs contacted Dr. Hollowell on Friday November 31st. Demand Dogs learned

that Blair claimed the following (which are all lies): (1) Blair had hired Keith Smith and Brian

Anderson to do sales for Blair; (2) Blair stated that he was the primary inventor; and (3) Blair

misrepresented that he worked for Demand Dogs (when he had already been terminated) and

claimed that he worked on the “idea” in his “off hours”.

       21.      Blair is wrongfully asserting rights to the Demand Dog Ideal and Demand Dog

Patent Application.

                                     CLAIMS FOR RELIEF

                COUNT I: DECLARATORY JUDGMENT AS TO THE
             OWNERSHIP OF THE DEMAND DOGS IDEA, DEMAND DOGS
             PATENT APPLICATION AND ANY SUBSEQUENTLY ISSUED
                                PATENTS

       22.     Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 21

of this Complaint as though fully set forth herein.

       23.     As described above, Blair is wrongfully asserting rights to the Demand Dogs Idea

and Demand Dogs Patent Application.

       24.     Blair’s allegations regarding his rights to the Demand Dog Idea and Demand Dogs

Patent Application have the potential to affect Demand Dog’s rights to the Demand Dogs Idea,

Demand Dog Patent Application and any subsequently issued patents.

       25.     Contrary to Blair’s allegations, he has no rights in the Demand Dog Idea, Demand

Dog Patent Application or any subsequently issued patents.

       26.     Contrary to Blair’s allegations, the Demand Dogs Idea, Demand Dog Patent

Application and any subsequently issued patents are the sole property of Demand Dogs.


                                               -5-
              Case 1:23-cv-13196 Document 1 Filed 12/26/23 Page 6 of 7



       27.     As a result of Blair’s acts as described in this Complaint, there exists a substantial

and actual controversy, within the meaning of 28 U.S.C. §§ 2201 and 2202, between Plaintiff and

Defendant of sufficient immediacy and reality to warrant the issuance of a declaratory judgment.

       28.     Accordingly, a judicial declaration is necessary and appropriate so that Plaintiffs

may ascertain the ownership of the Demand Dogs Idea, Demand Dog Patent Application and any

subsequently issued patents.

                               COUNT II: BREACH OF CONTRACT


       29.     Plaintiff repeats and realleges the allegations contained in paragraphs 1 through 28

of this Complaint as though fully set forth herein.

       30.     Blair entered into the Blair Employment Agreement.

       31.     Blair’s conduct as set forth herein is a breach of the Blair Employment Agreement.

       32.     As a result of Blair’s breach, Demand Dogs has suffered damages.

       33.     Demand Dog’s damages include, inter alia, lost profits, lost opportunities, lost

investment, attorneys’ fees, costs, and other expenses incurred in enforcing its rights under the

Blair Employment Contract.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully request:

       1.      A judgment declaring that Demand Dogs owns the entire right, title and interest in

and to the Demand Dogs Idea, Demand Dog Patent Application and any subsequently issued

patents;

       2.      A judgment that Blair has breached the Blair Employment Agreement;

       3.      An award of actual compensatory and compensatory damages in an amount to be

determined at trial plus interest for Blair’s breach of contract;


                                                -6-
              Case 1:23-cv-13196 Document 1 Filed 12/26/23 Page 7 of 7



        4.      That the case be found exceptional under 35 U.S.C. § 285;

        5.      Attorneys’ fees;

        6.      Costs and expenses in this action; and

        7.      Such other and further relief as the Court may deem just and proper under the
                circumstances.


                                   DEMAND FOR TRIAL BY JURY

        Plaintiff hereby demands a trial by jury as to all issues so triable in this case.

                                                       Demand Dogs, LLC
                                                       By its attorney,


                                                       Ronald W. Dunbar, Jr.

                                                       Ronald W. Dunbar, Jr.
                                                       dunbar@dunbarlawpc.com
                                                       BBO No. 567023
                                                       Dunbar Law PC
                                                       10 Post Office Square
                                                       Boston, MA 02108
                                                       (617) 244-3550
Dated: December 26, 2023




                                                 -7-
